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                     EXHIBIT J
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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


  ELIZABETH SINES, SETH WISPEL WEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, THOMAS BAKER and JOHN
  DOE,

                                 Plaintiffs,
  V.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
                                               Civil Action No. 3: 17-cv-00072-NKM
  ALEX FIELDS, JR., VAN GUARD
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  "AZZMADOR" RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-
  KNIGHTS, LOY AL WHITE KNIGHTS OF THE
  KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                               Defendants.



       DECLARATION OF HERMAN WEISBERG IN SUPPORT OF PLAINTIFFS'
       SUBMISSION REGARDING VENUE FOR TRIAL AND TRIAL LOGISTICS
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 I, Herman Weisberg, declare as follows:

         1.      I am the Managing Director of SAGE Intelligence Group ("SAGE"), an

 investigation, digital forensics, and security firm. The lawyers for the Plaintiffs in Sines v. Kessler,

 No. No. 3: 17-cv-00072-NKM retained me to provide security services.

         2.       I provide this declaration in support of Plaintiffs' Submission Regarding Venue for

 Trial and Trial Logistics.

         3.        The statements made in this declaration are based on my personal knowledge. If

 called to testify, I could and would testify under oath competently and truthfully to each of the

 statements in this declaration.

         4.        I have been the Managing Director of SAGE since 2010. Prior to joining SAGE,

 I was a New York City Police Department ("NYPD") Officer for twenty years. While with the

 NYPD, I worked in the Intelligence Division, where I underwent Dignitary Protection training

 and led advance work for dignitaries, including President George Bush and Vice President Al

 Gore, in New York City. I was ultimately promoted to Detective Second Grade and assigned to

 the New York District Attorney's Detective Squad where I regularly coordinated with law

 enforcement agencies around and outside of the country.

         5.      SAGE has also done extensive advance work since 2019 in Charlottesville to ensure

 the safety of Plaintiffs and their counsel at trial.

         6.      SAGE has communicated and coordinated with local law enforcement, including

 leadership in the Charlottesville Police Department and the U.S. Marshall Service, to create an

 operational plan for the trial.
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        7.      Based on my discussions in with the Charlottesville Police Department, it is my

assessment that they are taking all necessary steps to ensure proper security during the trial and

 that they are also coordinating with the Virginia State Police in order to do so.

        8.      SAGE employees have also visited the courthouse in Charlottesville to identify any

 potential security vulnerabilities, determine the safest points of ingress and egress, and to meet

 with courthouse security personnel to develop a plan for any potential future security emergencies.

        9.      In addition to investigating and preparing for any potential security concerns at the

 courthouse in Charlottesville, SAGE has also visited numerous hotels to identify the safest lodging

 for Plaintiffs' counsel and expert witnesses.

        10.     During the trial, SAGE plans to provide comprehensive physical security to

 Plaintiffs and their lawyers. To that end, SAGE has made arrangements to establish a command

 center for the in-person security detail at a safe location convenient to the courthouse and the hotel

 where Plaintiffs' counsel will be staying.

        11.     The in-person security detail will also provide transportation for Plaintiffs' counsel

 in Charlottesville. SAGE employees have mapped out the safest route of travel between the

 courthouse and the locations where Plaintiffs and their lawyers will be staying during the trial.

        12.     In an abundance of caution, after consultation with local law enforcement and

 investigation in Charlottesville, SAGE has also developed an approved list of vendors for meals

 and deliveries in Charlottesville.

        13.     In short, SAGE has worked for more than a year to ensure that Plaintiffs and their

 counsel will be safe during the trial in Charlottesville. SAGE's advance work has taken

 considerable time. It would be challenging for SAGE to replicate its efforts in a new location with

 only a few months remaining before Plaintiffs' counsel will need to travel to Virginia for trial.




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        14.    If the Court would like further information or details about our efforts, I would be

 happy to produce them as part of a sealed, in-camera submission. But for obvious reasons, it would

 be counterproductive for me to make that information publicly available.

        15.    I declare under penalty of perjury that the foregoing is true and correct. Executed

 on June 11, 2021.




                                      Herman   vlretSberg




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